       Case 1:20-cv-00127-LMG Document 76          Filed 10/07/21   Page 1 of 19




                                     Slip Op. 21-138

                  UNITED STATES COURT OF INTERNATIONAL TRADE



POKARNA ENGINEERED STONE LIMITED,

                       Plaintiff,

             and

M S INTERNATIONAL, INC.,

                       Consolidated Plaintiff,         Before: Leo M. Gordon, Judge

             v.
                                                       Consol. Court No. 20-00127
UNITED STATES,

                       Defendant,

             and

CAMBRIA COMPANY LLC,

                       Defendant-Intervenor.



                                        OPINION

[Commerce’s Final Determination sustained.]

                                                                Dated: October 7, 2021

      Jonathan T. Stoel, Jared R. Wessel, and Nicholas R. Sparks, Hogan Lovells US
LLP, of Washington, D.C., for Consolidated Plaintiff M S International, Inc.

       Joshua E. Kurland, Trial Attorney, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, of Washington, D.C., for Defendant United States. With him
on the brief were Brian M. Boynton, Acting Assistant Attorney General, Jeanne E.
Davidson, Director, and Tara K. Hogan, Assistant Director. Of counsel were Vania Wang
and W. Mitch Purdy, Attorneys, U.S. Department of Commerce, Office of Chief Counsel
for Trade Enforcement and Compliance, of Washington, D.C.

       Luke A. Meisner and Roger B. Schagrin, Schagrin Associates, of Washington,
D.C., for Defendant-Intervenor Cambria Company LLC.
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21   Page 2 of 19




Consol. Court No. 20-00127                                                           Page 2


       Gordon, Judge: This action involves a challenge to the final affirmative

determination by the U.S. Department of Commerce (“Commerce”) in the antidumping

duty (“AD”) investigation of certain quartz surface products (“QSPs”) from India. See

Certain Quartz Surface Products from India, 85 Fed. Reg. 25,391 (Dep’t of Commerce

May 1, 2020) (final affirm. determ.) (“Final Determination”), and the accompanying Issues

& Decision Memorandum, A-533-889 (Dep’t of Commerce Apr. 27, 2020),

https://enforcement.trade.gov/frn/summary/india/2020-09407-1.pdf (last visited this date)

(“Decision Memorandum”). Before the court is the motion for judgment on the agency

record of consolidated Plaintiff M S International, Inc. (“MSI”). See Pl. MSI’s R. 56.2 Mot.

for J. on the Agency R., ECF No. 39 (“MSI Br.”); see also Def.’s Resp. in Opp’n to Pls.’

R. 56.2 Mots. for J. on the Agency R., ECF No. 45 (“Def.’s Resp.”); Def-Intervenor’s Resp.

in Opp’n to R. 56.2 Mots. for J. on the Agency R., ECF No. 47 (“Def.-Int.’s Resp.”); MSI’s

Reply Brief, ECF No. 54 (“MSI Reply”).          The court has jurisdiction pursuant to

Section 516A(a)(2)(B)(i) of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1516a(a)(2)(B)(i) (2018) 1, and 28 U.S.C. § 1581(c) (2018). To facilitate the efficient

disposition of this action, this opinion focuses only on the industry support challenge

raised by MSI. See Scheduling Order, ECF No. 33 (bifurcating briefing in this matter). 2



1
  Further citations to the Tariff Act of 1930, as amended, are to the relevant portions of
Title 19 of the U.S. Code, 2018 edition.
2
  Commerce’s underlying industry support determination in this matter was also the basis
for the agency’s decision to initiate a countervailing duty (“CVD”) investigation as to QSPs
from India, as well as both AD and CVD investigations into QSPs from the Republic of
Turkey. See MSI Br. at 3. The court has stayed consideration of MSI’s substantively
similar challenges to Commerce’s final determinations in these other proceedings until
(footnote continued)
       Case 1:20-cv-00127-LMG Document 76          Filed 10/07/21   Page 3 of 19




Consol. Court No. 20-00127                                                         Page 3


For the reasons set forth below, the court sustains the Final Determination with respect

to Commerce’s industry support determination.

                                I. Standard of Review

      The court sustains Commerce’s “determinations, findings, or conclusions” unless

they are “unsupported by substantial evidence on the record, or otherwise not in

accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). More specifically, when reviewing

agency determinations, findings, or conclusions for substantial evidence, the court

assesses whether the agency action is reasonable given the record as a whole. Nippon

Steel Corp. v. United States, 458 F.3d 1345, 1350–51 (Fed. Cir. 2006). Substantial

evidence has been described as “such relevant evidence as a reasonable mind might

accept as adequate to support a conclusion.” DuPont Teijin Films USA v. United States,

407 F.3d 1211, 1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. v. NLRB, 305 U.S.

197, 229 (1938)). Substantial evidence has also been described as “something less than

the weight of the evidence, and the possibility of drawing two inconsistent conclusions

from the evidence does not prevent an administrative agency’s finding from being

supported by substantial evidence.” Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620

(1966). Fundamentally, though, “substantial evidence” is best understood as a word

formula connoting reasonableness review. 3 Charles H. Koch, Jr., Administrative Law and




30 days after the issuance of a final decision in this matter. See Order in Court No. 20-
00137 (Dec. 23, 2020), ECF No. 27 (Turkey AD Challenge); Order in Court No. 20-00138
(Dec. 23, 2020), ECF 27 (India CVD Challenge); Order in Court No. 20-00139 (Dec. 23,
2020), ECF No. 28 (Turkey CVD Challenge).
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21   Page 4 of 19




Consol. Court No. 20-00127                                                           Page 4


Practice § 9.24[1] (3d ed. 2021). Therefore, when addressing a substantial evidence

issue raised by a party, the court analyzes whether the challenged agency action

“was reasonable given the circumstances presented by the whole record.” 8A West’s

Fed. Forms, National Courts § 3.6 (5th ed. 2021).

      Separately, the two-step framework provided in Chevron, U.S.A., Inc. v. Natural

Res. Def. Council, Inc., 467 U.S. 837, 842–45 (1984), governs judicial review of

Commerce’s interpretation of the antidumping statute. See United States v. Eurodif S.A.,

555 U.S. 305, 316 (2009) (Commerce’s “interpretation governs in the absence of

unambiguous statutory language to the contrary or unreasonable resolution of language

that is ambiguous.”).

                                     II. Background

      Once Commerce receives a petition, it has 20 days to initiate an investigation.

19 U.S.C. § 1673a(c)(1)(A).    In determining whether to commence an investigation,

the agency must:

             (i) after examining, on the basis of sources readily available
             to the administering authority, the accuracy and adequacy of
             the evidence provided in the petition, determine whether the
             petition alleges the elements necessary for the imposition of
             a duty under [19 U.S.C. § 1673] and contains information
             reasonably available to the petitioner supporting the
             allegations, and (ii) determine if the petition has been filed by
             or on behalf of the industry.

Id. As part of that process, Commerce must determine if the petition has the support of

the domestic industry. Commerce makes that calculus in one of two ways. Commerce is
       Case 1:20-cv-00127-LMG Document 76           Filed 10/07/21   Page 5 of 19




Consol. Court No. 20-00127                                                          Page 5


required first to look at the evidence contained within the petition itself, and determine

whether:

             (i) the domestic producers or workers who support the petition
             account for at least 25 percent of the total production of the
             domestic like product, and (ii) the domestic producers or
             workers who support the petition account for more than
             50 percent of the production of the domestic like product
             produced by that portion of the industry expressing support for
             or opposition to the petition.

19 U.S.C. § 1673a(c)(4)(A). When the petition is unable to demonstrate support on its

face, Commerce must then poll the relevant industry or rely on other information to

determine whether support exists. See 19 U.S.C. § 1673a(c)(4)(D).

      In May 2019, Commerce received a petition from Cambria Company LLC

(“Cambria”), a domestic producer of QSPs, to impose antidumping duties on certain

QSPs from India. Petition from Schagrin Associates to Sec’y of Commerce, PR 1–5,

CR 1–5 (“Petition”). 3 MSI challenged Cambria’s standing to bring the petition for lack of

industry support, arguing that domestic fabricators of QSPs are “producers” for industry

support purposes and that several fabricators opposed initiation. See Letter from Hogan

Lovells US LLP to Sec’y of Commerce Pertaining to MSI Comments on Lack of Standing

at pts. 1–2, PR 39–40 (“MSI Standing Comments”). Despite MSI’s challenge, Commerce

initiated an antidumping investigation into the subject merchandise.       See Initiation

Checklist, PR 46, CR 34, ECF No. 30-7. In deciding to initiate, Commerce did not include




3
 “PR” refers to a document contained in the public administrative record. See ECF
No. 31-2. “CR” refers to a document contained in the confidential administrative record.
See ECF No. 31-3.
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21   Page 6 of 19




Consol. Court No. 20-00127                                                           Page 6


fabricators as domestic producers for the purpose of determining industry support. Id.

at Attach. II, pp. 9–16.

       Later in the investigation, MSI renewed its objection to the exclusion of fabricators

from Commerce’s industry support analysis.          See Decision Memorandum at 36.

Commerce declined to revise its affirmative industry support determination, explaining

that 19 U.S.C. § 1673a(c)(4)(E) did not permit reconsideration of the industry support

determination after initiation of an investigation. Id. at 37 (“Commerce is statutorily

precluded from reconsidering its industry support determination at this stage of the

investigation.”); see also 19 U.S.C. § 1673a(c)(4)(E) (“After the administering authority

makes a determination with respect to initiating an investigation, the determination

regarding industry support shall not be reconsidered.”).

                                      III. Discussion

          A. Commerce’s Interpretation of the Statutory Term “Producers”

       MSI challenges Commerce’s interpretation of the term “producers” in determining

whether industry support exists to justify the initiation of an antidumping investigation.

MSI Br. at 3–19. MSI contends that the plain meaning of “producers” includes the totality

of an industry, which in its view includes fabricators. Id. at 5–11. The Government

maintains that the statute is silent as to the meaning of “producers,” and that Commerce

is entitled to deference for its reasonable interpretation of the term under Chevron

step two. Def.’s Resp. at 9–13. Accordingly, the question before the court is whether

“producers” is defined broadly so as to include fabricators for the purposes of

Commerce’s industry support analysis under § 1673a(c)(4).
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 7 of 19




Consol. Court No. 20-00127                                                            Page 7


       MSI maintains that the plain language of the statute (in conjunction with a

contextual analysis of the relevant statutory provisions and the attendant legislative

history) conveys a clear Congressional intent as to the meaning of “producers”—namely

that fabricators are producers. See MSI Br. at 7–16. MSI therefore contends that

Commerce’s narrow interpretation is unlawful under Chevron step one, and that remand

is required for Commerce to redo its industry support analysis. Id.

       As described above, § 1673a(c)(4) sets forth how Commerce is to determine

whether a petition to initiate an antidumping investigation was filed “by or on behalf of the

industry.” 19 U.S.C. § 1673a(c)(4). MSI contends that the “unambiguously expressed

intent” of Congress was for Commerce to include all producers of the domestic like

product in its industry determination, not “a subset of producers handpicked by a

petitioner.” MSI Br. at 10 (citing S. Rep. No. 103-412 (1994), joint report of several Senate

Committees on Uruguay Round Agreements Act); see also Uruguay Round Agreements

Act, Statement of Administrative Action, H.R. Doc. No. 103-316, vol. 1 (1994), reprinted

in 1994 U.S.C.C.A.N. 4040. The joint Senate Report notes that the industry support test

is satisfied “if the authorities determine that domestic producers accounting for more than

25 percent of total domestic production of the like product expressly support the petition.”

See MSI Br. at 10 (quoting S. Rep. No. 103-412 at 35 with added emphasis).

       MSI’s central argument is that “‘industry’ means the producers as a whole of a

domestic like product, or those producers whose collective output of a domestic like

product constitutes a major proportion of the total domestic production of the like product.”

See id. at 11 (citing 19 U.S.C. § 1677(4)(A)).        MSI contends that, taken together,
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 8 of 19




Consol. Court No. 20-00127                                                            Page 8


the statute and joint Senate Report clearly demonstrate that Congress intended

Commerce consider all producers of the domestic like product when calculating industry

support. Id. at 10–11.

       The U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”) and this Court

have rejected MSI’s argument on this issue. See Eurodif S.A. v. United States, 411 F.3d

1355, 1360 (Fed. Cir. 2005) (“Eurodif”); USEC Inc. v. United States, 27 CIT 489, 507–09,

259 F. Supp. 2d 1310, 1327 (2003) (“USEC I”); and USEC Inc. v. United States, 27 CIT

1419, 1431–33, 281 F. Supp. 2d 1334, 1345–46 (2003) (“USEC II”).                 In Eurodif,

the Federal Circuit similarly addressed the breadth of the term “producers” in Commerce’s

industry support analysis. Eurodif, 411 F.3d at 1360–61. In affirming the trial court,

the Federal Circuit determined that, under Chevron step two, “Commerce’s interpretation

of the word ‘producer’ was reasonable and, thus, in accordance with law.” Id., 411 F.3d

at 1360. The Federal Circuit observed that Commerce’s determination to qualify as

a “producer” for industry support analysis purposes, “an entity must have a ‘stake’ in

the domestic industry in question” was reasonable. Id. (noting that “Commerce then

defined having a ‘stake’ as undertaking the ‘actual production of the domestic like product’

within the United States.”); see also USEC I & USEC II (underlying decisions containing

reasoning affirmed in Eurodif).

       MSI’s efforts to distinguish this action from Eurodif are misplaced. It is unable to

demonstrate why the Federal Circuit’s legal analysis of Commerce’s interpretation of

the term “producers” does not have equal application here. It is evident to the court that

the term “producers” is not defined in § 1673a(c)(4). Without a definition, there is no clear
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 9 of 19




Consol. Court No. 20-00127                                                            Page 9


statutory answer as to whether “producers” is broadly defined so as to include QSP

fabricators for purposes of Commerce’s industry support analysis.

       MSI next contends that the statutory scheme provides only two methods for

excluding the opinions of “producers.”         MSI Br. at 11–16.         Under 19 U.S.C.

§ 1673a(c)(4)(B), Commerce shall disregard producers that are “related to foreign

producers” unless their interests “would be adversely affected by the imposition of

antidumping duties.”    19 U.S.C. § 1673a(c)(4)(B)(i).      Alternatively, Commerce may

disregard domestic producers of the domestic like product that also are importers of the

subject merchandise. 19 U.S.C. § 1673a(c)(4)(B)(ii). MSI argues that Commerce acted

unlawfully by refusing to consider the position of domestic QSP fabricators without first

finding that either of these statutory provisions applied. MSI Br. at 12. MSI maintains that,

in light of the expressio unius exclusion alterius canon, Congress would have provided

for alternative methods of excluding the opinion of domestic producers if it intended to do

so. Id. MSI, however, misses a step: 19 U.S.C. § 1673a(c)(4)(B) applies to those parties

considered “producers” of the domestic like product and prescribes limited circumstances

for exclusion of their opinions. The statute does not address if or how Commerce should

consider the opinions of parties that Commerce finds are not “producers” of the relevant

domestic like product. MSI’s reliance on § 1673a(c)(4)(B) is therefore misplaced.

       MSI also argues that Commerce was required to poll the industry prior to initiating

the investigation as mandated by the “applicable statutory and regulatory requirements.”

MSI Br. at 4.     MSI’s argument appears to be that Commerce violated 19 U.S.C.

§ 1673a(c)(4)(D) when it initiated the underlying investigation without polling the industry.
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 10 of 19




Consol. Court No. 20-00127                                                          Page 10


Section 1673a(c)(4)(D) directs Commerce to poll or sample the industry 4 “if the petition

does not establish support of domestic producers or workers accounting for more than

50 percent of the total production of the domestic like product.”                19 U.S.C.

§ 1673a(c)(4)(D). Where Commerce determines that a petition has met the industry

support threshold, no such polling is required. See id. Because Commerce found

the requisite industry support within the petition, it was not required to poll the industry

to confirm support.    See Decision Memorandum at 37 (“As stated in the Initiation

Checklist, for India, the information contained in the petition met the requirements

of sections 732(c)(4)(A)(i) and (ii) of the Act.      Therefore, it was unnecessary for

Commerce to poll the industry or rely on other information to determine industry support

for the India Petitions.”). MSI fails to identify any legal authority that would require

Commerce to poll the industry upon request, despite a finding of sufficient industry

support. Accordingly, Plaintiff’s Chevron step one arguments fail.

       The court therefore will consider whether Commerce’s interpretation of the term

“producers” is “based on a permissible construction” (Chevron step two) of 19 U.S.C.

§ 1673a(c). See Chevron, 467 U.S. at 843.

       To guide its interpretation of “producers” for purposes of its industry support

analysis, Commerce employed the “sufficient production-related activities test.” 5



4
  The statute also permits Commerce to “rely on other information” to determine that
industry support exists in such circumstances. See 19 U.S.C. § 1673a(c)(4)(D)(i).
5
  As Commerce explained, the “sufficient production-related activities” test focuses on six
“factors typically examined by Commerce and the ITC to determine whether an entity has
sufficient production-related activities to qualify as a domestic producer, including capital
(footnote continued)
       Case 1:20-cv-00127-LMG Document 76             Filed 10/07/21    Page 11 of 19




Consol. Court No. 20-00127                                                           Page 11


Defendant maintains that Commerce’s interpretation of the statute was reasonable,

explaining that “the statute neither defines the term ‘producer’ nor instructs Commerce

on how to determine who qualifies, [and] Commerce has filled the statutory gap by

analyzing the extent of entities’ production-related activities.”       Def.’s Resp. at 11.

Defendant emphasizes that “Congress intended that the standing requirement

[for industry support determinations] ‘provide an opportunity for relief for an adversely

affected industry and to prohibit petitions filed by persons with no stake in the result of the

investigation.’” Def.’s Resp. at 14 (quoting S. Rep. No. 96-249, at 47 (1979)). The court

agrees.    Commerce may reasonably interpret “producers” in the industry support

provision to mean entities that have a "stake" in the industry. See Eurodif, 411 F.3d

at 1361. Plaintiff fails to point to any basis on which the court could conclude that

Commerce’s interpretation of who constitutes a producer is unreasonable. Accordingly,

the court sustains Commerce’s use of the “sufficient production-related activities” test

as a reasonable interpretation of the term “producers” in § 1673a(c)(4).

                 B. Substantial Evidence Challenges to Commerce’s
                          Industry Support Determination

               1. Commerce’s Decision to Exclude Fabricators from its
                         Industry Support Determination

       MSI argues that, even if Commerce’s interpretation of “producers” is permissible

under Chevron, Commerce’s application of the “sufficient production-related activities”

test in the underlying industry support determination was unreasonable. MSI Br. at 16-26.



investment, training and technical expertise, value added, employment levels, input
sourcing, and other production activities.” See Initiation Checklist at Attach. II, p. 10.
       Case 1:20-cv-00127-LMG Document 76             Filed 10/07/21    Page 12 of 19




Consol. Court No. 20-00127                                                           Page 12


MSI argued below that QSP fabricators qualify as “producers,” emphasizing

the fabricators’ role in the market, their technology input, and the complexity of the

products they produce, as well as promotional materials from Cambria detailing the role

of fabricators in QSP finishing. MSI Br. at 16–17; see also MSI Standing Comments

at 3–6. MSI maintains that Commerce’s finding that “fabricators do not perform sufficient

production-related activities to be included in the domestic industry for industry support

purposes” is not supported by substantial evidence. MSI Br. at 16.

       In applying the “sufficient production-related activities” test, Commerce observed

that quartz surface product producers create QSPs by “(1) mixing raw materials,

(2) combining, (3) dispensing and molding, (4) pressing, (5) curing, (6) cooling, and

(7) polishing.” Initiation Checklist at Attach. II, p. 15 (citing Petition Volume 1 at 7, PR 1,

CR 1). Whereas, Commerce noted that quartz surface product slab fabricators use

producer-made QSPs and “(1) consult with customers, (2) develop engineering diagrams,

(3) perform intricate cutting, and (4) perform various edge and surface finishing

operations” on existing QSPs. Id. (citing MSI Standing Comments). Commerce also

found that fabricators did not engage in the same complex processes as QSP slab

producers. See id. at Attach. II, pp. 14–15. Commerce concluded that the six factors

of the test did not support the conclusion that fabricators were “producers” of the domestic

like product. Id. Specifically, Commerce explained:

              We have analyzed the information provided by the petitions
              and find there is reason again to conclude that fabricators do
              not perform sufficient production-related activities to be
              included in the domestic industry for industry support
              purposes. The petitioner provided detailed information
      Case 1:20-cv-00127-LMG Document 76           Filed 10/07/21   Page 13 of 19




Consol. Court No. 20-00127                                                       Page 13


             to support its argument that fabricators should not be
             considered part of the domestic industry for standing, making
             it clear that there are significant differences in the level
             of complexity and capital investment, employment, training
             and technical expertise, production processes, and type
             of equipment, between quartz and surface product slab
             producers and fabricators. Based on the information provided
             by the petitioner, quartz slab production involves highly
             complex and interconnected machinery and engineering
             process, and, as a result, requires specialized equipment
             dedicated to quartz surface products production and
             a significantly greater amount of capital investment, training
             and technical expertise, and number of employees than
             the fabrication process. In contrast, information provided
             by the petitioner indicates that the fabrication process
             requires limited equipment that is not dedicated solely
             to quartz surface products, fewer employees, much less
             technical expertise, and significantly less capital investment.
             Information provided by the petitioner further indicates that
             the fabrication process does not change the fundamental
             physical characteristics imparted during the slab production
             process, as fabricators simply convert an existing slab into
             a geometrical form for its end use or application. In addition,
             many fabricators rely on imported slabs to produce final
             fabricated products.

Decision Memorandum at 37–38 (quoting Initiation Checklist at Attach. II, p. 14).

      When MSI renewed its objections to Commerce’s industry support analysis prior

to the Final Determination, Commerce explained that it is not permitted to revisit its

industry support determination after initiation.    See Decision Memorandum at 37

(“Commerce is statutorily prohibited from reconsidering its industry support determination

at this stage of the investigation. As a result, we continue to rely on our determination

of industry support provided in the Initiation Checklist.”); see also 19 U.S.C.

§ 1673a(c)(4)(E) (“After the administering authority makes a determination with respect
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 14 of 19




Consol. Court No. 20-00127                                                          Page 14


to initiating an investigation, the determination regarding industry support shall not be

reconsidered.” (emphasis added)).

       MSI contends that Commerce “only meekly referenced” the materials MSI

submitted, arguing that Commerce failed to consider MSI’s comments and to “articulate

a satisfactory explanation for its [finding that fabricators are not “producers” for industry

support purposes].”    MSI Br. at 17, 20.     The court disagrees.      MSI maintains that

Commerce’s conclusion under the “sufficient production-related activities” test cannot be

reasonable given that the record details the extensive capital investment and value added

by QSP fabricators.     Id. at 16–18.     While MSI emphasizes certain metrics under

the “sufficient production-related activities” test by which fabricators could reasonably be

found to be “producers,” its arguments ignore Commerce’s findings and conclusions

in the context of a comparison of fabricators to slab producers. See Initiation Checklist

at Attach. II, p. 14 (noting that “information provided by the petitioner indicates that

the fabrication process requires limited equipment that is not dedicated solely to quartz

surface products, fewer employees, much less technical expertise, and significantly less

capital investment.”). Despite MSI’s contention that Commerce did not consider MSI’s

information on the record, Plaintiff is unable to point to anything other than Commerce’s

adverse finding that fabricators are not “producers” as evidence of Commerce’s alleged

failure to consider the evidence. Consequently, Commerce’s finding that fabricators are

not “producers” is reasonable.

       MSI also maintains that none of the individual exhibits submitted by Cambria

“reveals a rational connection between Commerce’s facts found and the choice made.”
      Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 15 of 19




Consol. Court No. 20-00127                                                         Page 15


MSI Br. at 21. For each exhibit provided by Cambria and relied upon by Commerce in its

industry support determination, MSI provides an explanation for why that exhibit does not

support Commerce’s findings. See MSI Br. at 21–23. Almost all of MSI’s purported

explanations, however, challenge the weight Commerce assigned to that evidence. While

Commerce could have reasonably reached an alternative finding (i.e., Commerce could

reasonably have found fabricators to be producers), Plaintiff fails to demonstrate that its

preferred alternative was the one and only reasonable finding that could be reached

on the record.

       A party’s ability to point to an alternative, reasonable finding on the agency record

does not provide a basis for the court to set aside an agency’s determination.

See Mitsubishi Heavy Indus. Ltd. v. United States, 275 F.3d 1056, 1062 (Fed. Cir. 2001)

(“the possibility of drawing two inconsistent conclusions from the evidence does not

prevent an administrative agency’s finding from being supported by substantial evidence.”

(quoting Consolidated Edison, Co. v. NLRB, 305 U.S. 197, 229 (1938))). While this issue

presents a close question, for MSI to establish that Commerce’s industry support

determination was unreasonable, MSI must demonstrate that its preferred outcome was

the “one and only reasonable” conclusion Commerce could reach in light of the record.

See Tianjin Wanhua Co. v. United States, 41 CIT ___, ___, 253 F. Supp. 3d 1318, 1328

(2017). MSI has failed to meet this burden. Accordingly, the court sustains the Final

Determination.
       Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21    Page 16 of 19




Consol. Court No. 20-00127                                                          Page 16


     2. Challenges to Commerce’s and ITC’s Differing Findings Regarding the
                   Fabricators’ “Production-Related Activities”

       MSI further challenges Commerce’s determination on the basis that it

unreasonably deviates from the findings reached by the U.S. International Trade

Commission (“ITC”).     See MSI Br. at 17–20, 24–26.         MSI highlighted, in its initial

comments to Commerce, the fact that the ITC released U.S. Producer questionnaires

to fabricators as part of its preliminary investigation into QSPs from India, indicating that

the ITC considered fabricators to be within the scope of domestic producers. MSI Br.

at 18, 24-25; see also MSI Standing Comments at 3–4. MSI also emphasizes that since

Commerce’s decision that fabricators do not qualify as “producers” for purposes

of the industry support analysis in the underlying investigation, “the ITC has contradicted

Commerce on three occasions.” MSI Br. at 24 (referencing ITC’s findings that U.S. QSP

industry should be defined to include fabricators in final determination of investigation

of QSPs from China, as well as preliminary and final determinations in investigations

of QSPs from India and Turkey). Thus, MSI contends, Commerce’s conclusion to the

contrary is not supported by substantial evidence.

       Commerce explained that although the ITC and Commerce both apply the terms

“industry,” “producer,” and “domestic like product” under the statute, “they do so for

different purposes and pursuant to a separate and distinct authority.” See Initiation

Checklist at Attach. II, pg. 1 (further noting that “[a]lthough this may result in different

definitions of the like product, such differences do not render the decision of either agency

contrary to law”). Indeed, “[t]his Court has long recognized the division of labor between
      Case 1:20-cv-00127-LMG Document 76           Filed 10/07/21   Page 17 of 19




Consol. Court No. 20-00127                                                      Page 17


[ITC and Commerce] ‘even where it has resulted in decisions which are difficult

to reconcile.’” Consol. Fibers, Inc., v. United States, 32 CIT 855, 860 n.3, 574 F. Supp.

2d 1371 (2008) (quoting Algoma Steel Corp., Ltd. v. United States, 12 CIT 518, 523, 688

F. Supp. 639 (1988)); see also Asociacion Colombiana de Exportadores de Flores v.

United States, 12 CIT 634, 693 F. Supp. 1165 (1988). Even when ITC reaches its own

conclusion, Commerce may not reconsider its industry support determination after

an investigation has been initiated. See 19 U.S.C. § 1673a(c)(4)(E). The court agrees

with Defendant that “MSI’s arguments that the ITC subsequently determined to include

fabricators in the domestic industry for purposes of evaluating injury does not alter

the reasonableness of Commerce’s determination based on the record at initiation.”

Def.’s Resp. at 24–25.

      Additionally, MSI’s argument suffers from a chronological fallacy: for Commerce

to rely upon the ITC’s fact findings, Commerce would have to know ITC’s determination

before reaching its own conclusions. However, it is only after Commerce determines

industry support and decides to initiate an investigation that Commerce then notifies ITC

of its decision. See 19 U.S.C. § 1673a(d). The ITC then proceeds with its phase

of the investigation, which does not occur in concert with that of Commerce.        See

19 U.S.C. § 1673b(a). Therefore, the court sustains as reasonable Commerce’s industry

support determination in the underlying investigation.
      Case 1:20-cv-00127-LMG Document 76            Filed 10/07/21   Page 18 of 19




Consol. Court No. 20-00127                                                        Page 18


            3. Challenge to Commerce’s Decision Not to Extend Its Deadline
                              to Initiate an Investigation

       Finally, MSI challenges Commerce’s failure to extend the deadline to initiate,

arguing that “serious factual disagreements among interested parties” made

it unreasonable for Commerce to initiate its investigation after only 20 days. MSI Br.

at 25-26.

       Upon determining that industry support meets the threshold for petitioner standing,

Commerce proceeds with an investigation. The investigation must generally commence

within 20 days of the petition’s filing. 19 U.S.C. § 1673a(c)(1)(A). However, Commerce

retains the discretion to extend this deadline where it requires more time to determine

industry support:

               In any case in which the administering authority is required
               to poll or otherwise determine support for the petition by the
               industry under paragraph (4)(D), the administering authority
               may, in exceptional circumstances, apply subparagraph (A)
               by substituting “a maximum of 40 days” for “20 days”.

19 U.S.C. § 1673a(c)(1)(B).

       In the underlying investigation, Commerce determined that an extension of the

industry support deadline was not necessary, as the agency found sufficient evidence

of industry support within the petition.   See Initiation Checklist at Attach. II.   MSI’s

argument that Commerce should have extended the industry support determination

deadline fails for two reasons. First, Commerce found the necessary industry support

to proceed without polling, thus making the option for a deadline extension irrelevant. See

Decision Memorandum at 37 (“There was no need for Commerce to poll the industry,
       Case 1:20-cv-00127-LMG Document 76           Filed 10/07/21    Page 19 of 19




Consol. Court No. 20-00127                                                         Page 19


as Commerce properly found that the petition was supported by domestic producers and

workers which account for more than 50 percent of the total production of the domestic

like product.”).

       Second, even assuming Commerce could have extended its deadline, doing or not

doing so was within the agency’s discretion.           See 19 U.S.C. § 1673a(c)(1)(B)

(“the administering authority may, in exceptional circumstances,” extend investigation

initiation deadline to forty days (emphasis added)); see also United States v. Rodgers,

461 U.S. 677 (1983) (“The word ‘may,’ when used in a statute, usually implies some

degree of discretion.”).   As the statute expressly provides, Commerce’s discretion

to extend its deadline is reserved for “exceptional circumstances,” not for “serious factual

disagreements among interested parties.” Compare 19 U.S.C. § 1673a(c)(1)(B), with

MSI Br. at 26.      MSI has failed to demonstrate that Commerce acted unreasonably

in finding that there were no “exceptional circumstances” to justify an extension under

§ 1673a(c)(1)(B).    Accordingly, Commerce’s decision not to extend its deadline is

sustained.

                                     IV. Conclusion

       For the foregoing reasons, the court sustains the Final Determination as to

the challenges raised by MSI. Judgment will be entered accordingly.



                                                             /s/ Leo M. Gordon
                                                          Judge Leo M. Gordon

Dated: October 7, 2021
       New York, New York
